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               EXHIBIT A
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  1                      UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
  2                           ALEXANDRIA DIVISION

  3   ---------------------------x
      UNITED STATES, et al.,     :          Civil Action No.:
  4                              :          1:23-cv-108
                   Plaintiffs,   :
  5        versus                :
                                 :          Friday, September 15, 2023
  6   GOOGLE LLC,                :          Alexandria, Virginia
                                 :          Pages 1-80
  7                Defendant.    :
      ---------------------------x
  8
              The above-entitled motions hearing was heard before
  9   the Honorable John F. Anderson, United States Magistrate
      Judge. This proceeding commenced at 10:50 a.m.
 10
                             A P P E A R A N C E S:
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  1                       A P P E A R A N C E S:

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 18        (PROCEEDINGS RECORDED BY ELECTRONIC SOUND RECORDING,
           TRANSCRIPT PRODUCED BY COMPUTERIZED TRANSCRIPTION.)
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  1   part of what Your Honor ruled on last week, which is that --

  2               THE COURT:     Yes or no --

  3               MS. CLEMONS:     -- there was a very specific

  4   request.

  5               THE COURT:     -- have you given them that raw data?

  6               MS. CLEMONS:     No, because it's work product.

  7               THE COURT:     Have you given your experts that raw

  8   data?

  9               MS. CLEMONS:     No, because it's work product, Your

 10   Honor.

 11               THE COURT:     Well --

 12               MS. CLEMONS:     It was for the purposes of

 13   determining whether and how the claims should be brought on

 14   behalf of Navy.

 15               THE COURT:     All right.    I want that data delivered

 16   to my chambers before the end of the day today.            I'll look

 17   at it and see whether that raw data should be produced;

 18   okay?

 19               MS. CLEMONS:     Okay.   To be clear, Your Honor, it

 20   is not raw data.      It is -- my understanding --

 21               THE COURT:     I'll see what it is --

 22               MS. CLEMONS:     It's a request from counsel.

 23               THE COURT:     -- and I'll make a determination.

 24               MS. CLEMONS:     Okay.

 25               THE COURT:     I thought I was clear in my ruling.
                                                                           23

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  1               And, you know, I've got to tell you, the

  2   government's claim for damages is in jeopardy in this case

  3   given their lack of responsiveness in discovery.            And, you

  4   know, I want you to understand the seriousness of the way

  5   that I'm concerned about your responses to these

  6   damages-related questions.

  7               A defendant in any case is entitled to know what

  8   the plaintiff is asking for and how they need to supplement

  9   it at a later time, but at least needs to know, in some

 10   respects, as to how the damages are being calculated, what

 11   the elements are, what you intend to be going after, and

 12   it's not going to come in an expert report and they then

 13   have 30 days from when they get your expert report to get

 14   their expert, to get everything lined up, to know how to

 15   respond to that.      It's not fair.     And I want to make sure

 16   this case is tried on a fair basis, and hiding the ball as

 17   to how you're going to calculate the damages or what the

 18   damages are, you know, what the elements are going to be,

 19   you know, if the model isn't complete, the model isn't

 20   complete.    But you need to explain to them that you're

 21   working on a model that's going to be doing X, Y and Z, and

 22   that when you get the information, this is going to be it,

 23   and you can supplement it at a later time.           But the idea

 24   that you're going to wait until an expert report gets served

 25   to tell them what you're seeking in this case and how it's
                                                                24

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  1   calculated and how it all came out isn't fair.

  2               So I'm going to require you to provide

  3   supplemental responses to Interrogatories 4, 9, 14, 17.

  4   I'll look at this expert data.        I assume what you have

  5   provided to the government -- or provided to the defendant,

  6   I'm going to say, if you have not provided them that

  7   information as of the close of discovery, you cannot use it.

  8   Is that fair or not fair?

  9               MS. CLEMONS:     Absolutely fair, Your Honor, and we

 10   don't intend to use it because it was an initial

 11   determination for very specific information requested by

 12   counsel to assess claims, and then we sought actual

 13   discovery.

 14               THE COURT:     I'm talking about in broad range.        If

 15   you haven't provided them with the documents upon which you

 16   rely to support your claim for damages in this case, you're

 17   not going to be able to use it.

 18               MS. CLEMONS:     Yes, Your Honor.

 19               THE COURT:     Other than --

 20               MS. CLEMONS:     We completely agree.

 21               THE COURT:     -- information that you're getting

 22   from Google.     I'll carve that out, obviously.

 23               But, I mean, it's only fair that in the fact

 24   discovery part of this case that you provide them with the

 25   information that you intend to rely upon in order to claim
                                                                25

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  1                ----------------------------------
      I certify that the foregoing is a true and accurate
  2
        transcription of my stenographic notes.
  3

  4                                   ____________________________

  5                                  Stephanie M. Austin, RPR, CRR

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